Case 8:19-cv-00423-WFJ-SPF Document 45-1 Filed 05/24/19 Page 1 of 6 PagelD 776

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CHRISTOPHER MARK PARIS, and,
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs, Case No. 8:19-cv-00423
VS.

WILLIAM LEVINSON,

LEVINSON PRODUCTIVITY
SYSTEM, PC, a Pennsylvania
Corporation, MARC TIMOTHY
SMITH, individually, and d/b/a
CAYMAN BUSINESS SYSTEMS,
GUBERMAN PMC, a Connecticut
Corporation, DARYL GUBERMAN,
an individual, DONAL LABELLE, an
individual

Defendants.

 

DEFENDANT, LEVINSON PRODUCTIVITY SYSTEMS, PC, AFFIDAVIT IN REPLY
TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS FOR LACK
OF PERSONAL JURISDICTION

BEFORE ME personally appeared, the Defendant, WILLIAM LEVINSON, on behalf of the
Defendant, LEVINSON PRODUCTIVITY SYSTEMS, PC, who after being duly sworn, deposes

and says:

1. My name is WILLIAM LEVINSON, and I am over the age of 21 and otherwise sui juris.

2. Ihave personal knowledge of the facts contained in this affidavit.

3. I am the President of the Defendant, LEVINSON PRODUCTIVITY SYSTEMS, PC and
have held that position since 2001. I am duly authorized to testify on behalf of and for the
Defendant, LEVINSON PRODUCTIVITY SYSTEMS, P.C. hereinafter referred to as “LPS”

4. LPS does not own nor hold any license to do business in the State of Florida.

Paris v. Levinson, et.al.
Case No.: 8:19-cv-0423

1|Page

HIT "A
 

Case 8:19-cv-00423-WFJ-SPF Document 45-1 Filed 05/24/19 Page 2 of 6 PagelD 777

5. LPS does not operate, conduct or engage in business operations in the State of Florida,
maintains no employees, business agents nor corporate personnel in the State of Florida nor
does LPS own, operate, nor maintain, any offices or facilities in the State of Florida.

6. LPS does not target advertisements nor other marketing efforts to the State of Florida nor
does LPS specifically offer products or services for sale over the internet or other digital
media targeting potential customers in the State of Florida.

7. On April 18, 2019, I was contacted by Mario Vittone, and behalf of Lifesaving Systems
Corp. claiming to have found me through prior articles on the Quality Digest website,
inquiring as to whether I could provide professional “assistance” to them. The 813 area code
contact information, made me suspicious that this was a “set-up”, possibly perpetrated by the
Plaintiffs to support false claims that LPS or myself were engaged in business in Florida. [
was then able to determine that Lifesaving Systems Corp., is a Florida customer of the
Plaintiffs, in Hillsborough County, Florida. Neither I nor LPS engaged in any business
transaction with that entity or individual. See attachment consisting of the email
correspondence from Lifesaving Systems from April 18, 2019.

8. On April 25, 2019, The Plaintiff, OXEBRIDGE QUALITY RESOURCES, LLC., attempted
to purchase a “training package” from LPS using an automated online system. This order was
rejected, the charges were refunded, the transaction cancelled, and no delivery of products or
services was ever made to Florida. See attachment consisting of the Paypal Transaction
Details for April 25, 2019.

9. At no point has LPS, or myself, ever done business with either of the Plaintiffs and the

attempted transaction by the Plaintiff, OCEBRIDGE QUALITY RESOURCES, LLC., is the

first ever to my knowledge.

Paris v. Levinson, et.al.

Case No.: 8:19-cv-0423 2|Pa
Case 8:19-cv-00423-WFJ-SPF Document 45-1 Filed 05/24/19 Page 3 of 6 PagelD 778

Ife Le Ors

William Levinson

 

STATE OF PENNSYLVANIA )

COUNTY OF _Ltpzeene )

BEFORE ME, the undersigned authority, William Levinson, personally appeared, who is
personally known to me, or who provided proper identification and who, upon being first duly
sworn according to law, deposes and says that he executed the foregoing Affidavit and it is true
and correct to the best of his knowledge and belief.

IN WITNESS WHEREOF, I have hereunto set my hand and affix the seal of my office in
the County and State last aforementioned this 24 th _ day of M ay , 2019.

NOTARY PUBLIC, State of Pennsylvania
Printed Name:

Commission Number:
Commission Expires:

 

Commonwealth of Pennsylvania - Nota
RALPH KONDERCHEK, Notary Puke
Columbia County
My Commission Expires December 05, 2020
Commission Number 1302364

 

 

 

Paris v. Levinson, et.al.
Case No.: 8;19-cv-0423

3|Page
Case 8:19-cv-00423-WFJ-SPF Document AS- i Filed 05/24/19 | Page 4 of 6 PagelD 779
5/15/2019 5:37 PM FROM: Fax TO: 813-243- oS PAGE: 002 OF

From one of Chris Paris' and Oxebridge's clients, addressed to my company

1S0-9001 / Lean Manufacturing

Mario Vittone <m.vittone@lifesavingsystems.com>
@® You tonwarded thin mecande Gh 41S 409 PRA,

feet) Thu 4/28/2019 10:17 Abt

Ta theboss@ct-yankee.com ae

Mr. Levinson:

I ran across some of your articles on the Quality Digest website. My company manufactures rescue
equipment forthe U.S. Military (and others around the world).

While we have not had escapes to customers - my rework / non-conforming materials rates are,
well, ridiculous. Our QA team catches them, but I'm thinking I need some outside opinions on
where the cause of my rework rates mighit be.

Anyway, we are good, but we aren't lean. I think I'm losing about 400K per year to rework and
inefficiencies. Can your finm assist?

Mario Vittone

General Manager
Lifesaving Systems Corp.

Ph: 813-645-2748 Ext. 213
a — de ao

 

This message (including any attachmenis} may contain confidential, proprietary, privileged and/or private
information. All technical drawings are the exclusive property of Lifesaving Systems Corp. and as such
may not be forwarded, copied , or stored without written permission from Lifesaving Systems Carp. The
information is intended to be forthe use of the individual or entity designated above. If you are not the
intended recipient of this message, please notify the sender immediately, and delete the message and any
attachments. Any disclosure, reproduction, distribution or otheruse of this message or any attachments by
an individual or entity other than the intended recipient is prohibited.
Case 8:19-cv- -00423- WEJ- SP Doc cument A5- Filed 05/24/19 Page 5 of 6 PagelD 780

/15/2019 5: i FROM: Fax O: 1-813-243-9234 PAGE: 003 OF 0

https://www.facebook.com oxebridge/community/?ref=page_ internal

Oxebritige Quality Resources was mentioned ii a post

   

  

@ Lifesaving Systems Cozp.
Gee September 4, 2017 -
Quality matters: We've upgraded our quality cert to AS 9100 DB. Thanks
Kevin and also Chris at Oxsbad: i Qualtt = Resources

 

 

ADVANTAGE
as TERMATIGOHAL REGISTRAR

 

AS 9100 DB / ISO 9061:2015
CERTIFICATE OF REGISTRATION

This is.to cariify that
LIFESAVING SYSTEMS CORP.

220 Elsberry Rd
Apolo Beach, FL I3S%2 USA
__ having been audited in accordance with the requirements:

Of AS 91044 dated 2012.01, has successfully been assessed and
found tc. conform with the AS 8100-0 and ISO 9001:2015
quality management syateny standards,

The scope of this registration includes:

Hesign, development, manufacture, distribute, service and
repair of marine and aviation rescue and survival equipment

Date of Regighsties; September 21, 2017
Bale of Eapration: September 20. 2026
Date tsuedirevinad.. September, 2057 -
Ategachoe dance chacqueed Arts

Geatianan aig. Atta
Tetiggiod Baatde pega ate

fab

alanine
Stove Gariost, Prewdort
a Ribu tobaresamiey A Meneame

 
Case 8:19-cv-00423-WFJ-SPF Document 45-1 Filed 05/24/19 Page 6 of 6 PagelD 781
GE: 002 OF 002

5/15/2019 5:07 PM FROM: Fax TO: 1-813-243-9234 PAGE: 002
Transaction details April 25, 2019 at 7:16:50 PM PDT | Transaction ID: 3NES3711HA122313S
Payment sent to Oxebridge Quality Resources International LLC Gross amount
Payment Status: Completed -$85.00 USD

We have no postal address on file
Transaction Activity . : ek ae : Gross amount _ Feeamount = Net amount

Payment from Oxebridge Quality

% Apr 25, 2019 85.00 USD -$2.77 USD 82.23 USD
¥ BER Resources International LLC $ + $
a Apr 25, 2019 PayPal fee reversal §2,47 USD $0.00 USD $2.47 USD
Payment details
Gross Amount -§85.00 USD
PayPal Fee -$2.47 USD
Net Amount -§82.53 USD
Contact info Oxebridge Quality Resources International LLC
The receiver of this payment is Verified
http://www.oxebridge.com
chris@oxebridge.com
Payment Sent to Mercury@ct-yankee.com
Note to Oxebridge Quality Order rejected.

Resources International LLC

Funding details Funding Type: PayPal Balance
Funding Source: -§85.00 USD - PayPal Account

Need help?

Go to the Resolution Center for help with this transaction, to settle a dispute or to open a claim.

Memo Order rejected.
